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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY


DEBORAH MIGDAL,
on behalf of herself and those similarly
situated,

                   Plaintiff,                                Civil Action No. 2:16-cv-04750
       -v-
                                                               NOTICE OF MOTION
PORTFOLIO RECOVERY ASSOCIATES,
LLC

                   Defendant.


       PLEASE TAKE NOTICE that Defendant, Portfolio Recovery Associates, LLC (“PRA”),

by counsel will move this Court for an order (1) compelling Plaintiff Deborah Migdal, to submit

her claims to arbitration and to dismiss, or in the alternative to stay, this action on the grounds

that the parties agreement contains a binding arbitration clause, pursuant to the Federal

Arbitration Act (“FAA”), 9 U.S.C. § 1, et seq., and Rules 12b(6) of the Federal Rules of Civil

Procedure and (2) for such further and different relief as the Court deems just and proper.

       PLEASE TAKE FURTHER NOTICE that oral argument is requested.

       A Proposed Order accompanies this Notice of Motion.
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Dated: April 28, 2017               Respectfully submitted,

                                    TROUTMAN SANDERS LLP


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